Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.716 Page 1 of 17




           Exhibit 2
           6/21/2018 - The City’s response to Plaintiff’s
           contempt filings & the order to show cause.

           Rudd v. Norton Shores Michigan FOIA Litigation
           17-004334-CZ 14th Circuit Court, Hon. Timothy G. Hicks
           .
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.717 Page 2 of 17



                                          STATE OF MICHIGAN

                    IN THE 14™ CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

DANIEL W. RUDD,

       Plaintiff,                                        Case No. 2017-004334-CZ

v.                                                       HON. TIMOTHY G. HICKS

CITY OF NORTON SHORES,

       Defendant.

Daniel W. Rudd (Pro Se)                               MichaelS. Bogren (P34835)
201 S.Lake Ave                                        Lisa A. Hall(P70200)
Spring Lake, Michigan 49456                           Attorneys for Defendant
(231-557-2532)                                        PLUNKETTCOONEY
daniel(5>stock20.com                                  950 Trade Centre Way, Suite 310
                                                      Kalamazoo, Michigan 49002
                                                      (269-226-8822)
                                                      mbogren(o)plunkettcooney.com


 RESPONSE TO PLAINTIFF'S EX PARTE MOTION TO INITIATE CONTEMPT PROCEEDINGS
       AGAINST THE CITY OF NORTON SHORES AND ORDER TO SHOW CAUSE

       Defendant, City of Norton Shores ("Defendant"), by and through its attorneys Plunkett

Cooney, in Response to Plaintiffs Ex Parte Motion to Initiate Contempt Proceedings against

the City of Norton Shores, as supplemented, and Order to Show Cause states as follows:

       Plaintiff Daniel W. Rudd ("Plaintiff") requested this Court to initiate contempt

proceedings1 against the Defendant alleging it willfully defied the Court's May 3, 2018 Order

("Order") when it produced the citizen complaints with redactions of the complainants' and

officers' names. The premise is flawed. That is, there is nothing in the Order which would




1 The Order to Show Cause and underlying Ex Parte Motion do not indicate whether Plaintiff is seeking civil or
criminal contempt. A defendant charged with contempt is entitled to be informed of whether the contempt
proceedings are civil or criminal. See In re Contempt of Dougherty, 429 Mich 81, 99; 413 NW2d 392 (1987). For
that reason, in addition to those set forth in the Response, the Order to Show Cause should be dismissed.
 Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.718 Page 3 of 17



.preclude the respective redactions. Furthermore, because Plaintiff previously represented to

the Court that all he was seeking, as it related to the citizen complaints, was the basic nature of

the complaint, "even if the names are redacted," it is evident that it is the Plaintiff who is

acting in bad faith with the filing of this motion, not the Defendant. For those reasons,

Defendant respectfully requests this Court dismiss the Order to Show Cause.

        This matter was originally initiated by Plaintiff as a result of the denial of a FOIA

request made to Defendant on January 27, 2017 seeking the following:

        Any/all complaints submitted against the Norton Shores Police Department's
        policies or employees from January 1, 2014 until the present. I am also
        requesting a copy of any corresponding written report, disposition or document
        describing the results of the internal investigation.

Defendant denied the FOIA request based upon the personnel records of a law enforcement

agency exemption set forth in MCL 15.243(l)(s)(ix). The Court ultimately held that a specific

 category of documents [i.e., the citizens' complaints] located in the internal affairs files were

 not exempt under MCL 15.243(l)(s)(ix) and granted partial summary disposition in favor of

 Plaintiff as to those documents only. But whether the citizens' complaints themselves

 contained any information that was subject to a separate exemption was never litigated not-

 decided by this Court, as the issue before the Court was whether the citizen complaints fell

 within the personnel records of a law enforcement agency exemption. Indeed, Chief Gale's

 Affidavit provided that turning over the citizen complaints, even in a redacted form, would

 have the same chilling effect. And the Order entered in this matter did not preclude such

 redaction. Thus, Defendant was not in violation of this Court's Order when it released the

 citizens' complaints to Plaintiff with the respective redactions.

        Moreover, as this Court is aware, multiple hearings took place in this matter where the

 Court inquired into what documents Plaintiff actually sought in his January 27, 2017 request.

                                                  2
 Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.719 Page 4 of 17



Plaintiffs representations were presumably considered as a part of this Court's holding. At

those hearings, Plaintiff conceded he was not seeking the names of the complainants in the

citizens' complaints but simply seeking "the basic nature of the complaint." Plaintiff testified:

       So my concern was with not just how many complaints are there, although
       that information isn't currently publicly available that I'm aware of. My
       concern is are these complaints handled in a way that is consistent, that's
       effective, that -- are the actual concerns of the citizens addressed? Because if
       the citizens don't have any idea of how Norton Shores arrived at their
       disposition, I'm not suggesting that they should disclose I mean, these
       personnel files contain Garrity statements, they contain a lot of information that
       is shielded and protected and privileged by various statutes in Michigan.

       I've been very clear in my request and in my pleadings in my appeal to
       the Norton Shores city that I'm not asking for those things. I'm not asking
       for personnel evaluations, I'm not asking for anything that would indicate the
       specific actions that they take when discipline is warranted.

       What I'm looking for is -- I would like to know, and even if the names
       are redacted, of who the citizens are, what is the basic nature of the
       complaint? What's the basic nature of the disposition and how did you
       arrive at that?

[Ex A, 12/22/17 Transcript, pgs 24-25].

And again, on April 2, 2018, Plaintiff testified that as it related to the citizens' complaints, they

should be produced, with redactions if warranted. [Ex. B, 4/2/18 Transcript, pg. 41]. Despite

these representations, Plaintiff has filed this motion requesting the Court hold Defendant in

contempt for the subject redactions. It is evident Plaintiffs actions are made solely in an

effort to harass Defendant.

       Plaintiff argues that the Order intended for the complainants' names to be disclosed on

page 5 where it provides, "Yes, there might be some chilling effect on the Citizenry at large if

the names of the complainants are disclosed..." And Plaintiff further claims that Defendant's

arguments on appeal seeking a stay from disclosing the subject complaints prove it was aware

it was required to disclose the complainant's name to Plaintiff. But this claim also fails. The
 Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.720 Page 5 of 17



key word in the analysis of the Court on page 5 is "if." It did not require them.to„b_e..disdo_s_ecL

prohibiting the ability to redact. And as discussed at the April 2, 2018 hearing and in Chief

Gale's Affidavit, disclosure of the citizens' names can happen even when the underlying

complaint is provided in a redacted form, as the public is now privy to the underlying

complaint and may already have some knowledge of the underlying event, the parties

involved, or may even proceed with investigating the matter with the information provided to

verify the identity of the parties involved. Thus, any claim that Defendant acted in bad faith

subsequent to the denial of the stay by redacting such information is without merit.

       The Order in this matter simply deemed a category of documents [i.e. the citizens'

complaints] located in the internal affairs files not exempt pursuant to MCL 15.243(l)(s)(ix)

and required them to be produced. The Order was silent as to whether the citizens'

complaints, individually, contain information that is exempt. Accordingly, Defendant should

not be precluded from redacting such information when producing the citizens' complaints.

And because Plaintiff admittedly sought only the basic nature of the citizens' complaints, and

not the names, Defendant responded with the appropriate redactions. To disclose such

information would clearly be an unwarranted invasion of an individual's privacy, which is

protected pursuant to MCL 15.243(l)(a).

       Plaintiffs claim that the redaction has made it impossible for the public to appreciate

"a pattern of inappropriate conduct" also fails as the basic nature of the underlying complaint

is revealed despite the redactions. To the extent a pattern of conduct existed, it would be

revealed with the information provided to Plaintiff. Indeed, Plaintiff acknowledged he was

able to determine the nature of the complaint, despite having only received redacted copies of

the citizen complaints, as he stated in an email to counsel for Defendant that he believes they

"relate to the very practices which I've challenged in my federal lawsuit." [Ex. C, June 11, 2018
                                                 4
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.721 Page 6 of 17


Email from Rudd]. Thus, there is no question Plaintiff was able to ascertain the basic nature of

the complaint. It is also evident, based on his pending federal lawsuit and his statements

made to Defendant's counsel on June 11, 2018, Plaintiff's motivation in this lawsuit is entirely

personal.

       As it relates to Plaintiff's claim regarding some of the citizens' complaints being heavily

redacted in the body of the document [IA 2015-1 and 2016-16], Defendant will refer the Court

to the unredacted versions provided to the Court. As evidenced in unredacted versions, some

of the citizens' complaints are taken in by the police department via phone and typed out onto

the official complaint form. The investigation then begins on the very same page the citizen

complaint is typed on. Thus, on several of the citizens' complaints produced to Plaintiff, there

was investigatory work appearing on the first page of the subject complaint which warranted

redaction. And as it relates to Plaintiffs claim that some of the citizens' complaints do not

contain file numbers, some of the initial citizens' complaints in the file did not contain

numbers. Thus, if a number fails to appear on one of the complaints, it is due to it not being

originally placed on that document.

       Finally, in response to Plaintiff's Supplemental Motion, Plaintiff is correct in that one

citizen complaint was missing from 2014. As notated in the index provided to the Court, the

citizen complaint labeled IA-2014-11 was not located in the files. Accordingly, there was not a

document to produce. And as it relates to IA-2014-08, the document provided to Plaintiff was

the initial complaint. The information in the initial complaint was called into the Defendant

from a party that did not draft the memo. The party who made the telephone call was the

party who instigated the initial complaint and the memo was simply a part of the investigation

and properly withheld.
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.722 Page 7 of 17



        Defendant did not refuse to comply with the Order. Defendant produced thexitizensl

complaints in accordance with the order. The Defendant's effort to obtain a stay pending their

appeal was not a bad faith litigation tactic but an exercise of its available remedies provided

for under the law. And Defendant's appeal continues despite denial of the stay.



                                     RELIEF REQUESTED

        WHEREFORE, for the foregoing reasons, Defendant respectfully requests this

Honorable Court dismiss the Order to Show Cause, and grant any further relief which this

Court deems just.

                                           Respectfully submitted,

                                           PLUNKETTCOONEY


DATED: June 21, 2018
                                                  Michael S Bogrenifp34835)
                                                  Lisa A. Hall (P70200)
                                                  Attorney for Defendant
Open.00560.72801.20503607-1
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.723 Page 8 of 17




                            v naiHxa
       Plaintiff’s Note: This is an Exhibit attached to the City’s 6/21/18 State Court filing
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.724 Page 9 of 17




                                       STATE OF MICHIGAN


                IN THE CIRCUIT COURT FOR THE COUNTY OF MUSKEGON



            DANIEL W. RUDD,

                                 Plaintiff,                   File No. 17-0O4334-CZ
           vs
                                                              MOTION
           CITY OF NORTON SHORES,

                                 De fendant.




                                            R E C O R D

                   of the proceedings had in the above-entitled

                   c a u s e o n t h e 2 2 n d d a y o f D e c e m b e r, 2 0 1 7 , b e f o r e

                   HONORABLE TIMOTHY HICKS, CIRCUIT JUDGE.


           APPEARANCES:

           The Plaintiff appeared in person,
           but was not represented by counsel

           LISA A. HALL, J.D. (P70200)
           Attorney at Law
                on behalf of the Defendant.
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.725 Page 10 of 17




 1          c e r t i fi c a t i o n o r g a n i z a t i o n . B u t t h e s e s t a n d a r d s a r e

 2          - - a r e f a i r l y c o m m o n t h r o u g h o u t t h e c o u n t r y.

 3                              So my concern was with not just how many

 4          complaints are there, although that information isn't

 5          currently publicly available that I'm aware of. My

 6          concern is are these complaints handled in a way that

 7          is consistent, that's effective, that -- are the

 8          actual concerns of the citizens addressed? Because

 9          if the citizens don't have any idea of how Norton

10          Shores arrived at their disposition, I'm not

11          suggesting that they should disclose -- I mean, these

12          p e r s o n n e l fi l e s c o n t a i n G a r r i t y s t a t e m e n t s , t h e y

13          contain a lot of information that is shielded and

14          protected and privileged by various statutes in

15          Michigan .

16                               I've been very clear in my request and in

17          my pleadings in my appeal to the Norton Shores city

18          that I'm not asking for those things. I'm not asking

19          for personnel evaluations, I'm not asking for

20          a n y t h i n g t h a t w o u l d i n d i c a t e t h e s p e c i fi c a c t i o n s

21          that they take when discipline is warranted.

22                              What I'm looking for is -- I would like

23          t o k n o w, a n d e v e n i f t h e n a m e s a r e r e d a c t e d , o f w h o

24          the citizens are, what is the basic nature of the

25          complaint? What's the basic nature of the


                                               -2 4
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.726 Page 11 of 17




 1          disposition and how did you arrive at that?

 2                              T H E C O U R T: N o w m y q u e s t i o n i n g o f M s . H a l l

 3          at several points to talk about whether or not your

 4          request could be severed into two parts, and you seem

 5          t o b e g o i n g d o w n t h a t r o a d a l i t t l e b i t . Yo u ' r e

 6          saying you don't want the internal investigation

 7          reports.        Correct?

 8                              MR. DANIEL RUDD: Correct.

 9                              T H E C O U R T: B u t i f t h e c o u r t o r d e r s

10          d i s c l o s u r e s i m p l y o f t h e c i t i z e n c o m p l a i n t fi l e ,

11          that's incomplete relief for you. Correct?

12                              MR. DANIEL RUDD: That would be

13          incomplete.

14                              T H E C O U R T: B e c a u s e y o u w a n t t o k n o w w h a t

15          the city did with it.

16                              M R . D A N I E L R U D D : Ye s .

17                              T H E C O U R T: O k a y.

18                              MR. DANIEL RUDD: And according to the

19          City of Norton Shores, on their website as they

20          describe this process, they indicate when your

21          complaint is received, it will be assigned and

22          investigated and we'll keep you apprised of what's

23          happened. Once the investigation is completed, a

24          summary of that investigation, which would not

25          i n c l u d e a l l o f t h e c o n fi d e n t i a l i n f o r m a t i o n - - a


                                              ■25
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.727 Page 12 of 17




                               a iiaiHxa
    Plaintiff’s Note: This is an Exhibit attached to the City’s 6/21/18 State Court filing
     Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.728 Page 13 of 17
                                         Rudd v City of Norton Shores




                                                 STATE OF MICHIGAN


                          IN THE CIRCUIT COURT FOR THE COUNTY OF MUSKEGON



                     DANIEL RUDD,

                                         Plaintiff,                     File No. 17-004334-CZ
                         vs .
                                                                        MOTION
                     CITY OF NORTON SHORES,

                                         Defendant.




                                                       R E C O R D

                                of the proceedings had in the above-entitled

                                cause on the 2nd day of April, 2018, before

                                HON. TIMOTHY G. HICKS, Circuit Judge.


                     APPEARANCES:

                     The Plaintiff appeared in person,
                     but was not represented by counsel;

                     LISA A. HALL, J.D. (P70200)
                     Attorney at Law
                         on behalf of the Defendant.




1 of 25 sheets                                  April 2, 2018                             Page 1 to 1 of 61
       Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.729 Page 14 of 17
                                                              Rudd v City of Norton Shores
   1 A number 10. I'm sorry.                                                    1                THE COURT: So you want me to take my list
   2    MR.       RUDD:        Yo u r   Honor?                                  2     of 10 items and deal with 4-1/2 --
   3    THE       C O U R T:     Mr.    Rudd?                                   3                 MR. RUDD: Yeah. I actually think--
  4 M R . R U D D : I d o t h i n k t h e r e , y o u k n o w, m a y            4               THE COURT: -- or 7-1/2 or something like
  5 be circumstances, too, where under some of these                            5     that? Okay.
  6 there might be a different exception where they would                       6                 MR. RUDD: I do - I did bring a copy of
  7 redact or, you know, Gale's interview notes with                            7     a 2013 published decision that kind of lays out - it
  8 citizens, you know, there might be a different                              8     summarizes a bunch of these cases and lays out a
  9 exemption — reason for not disclosing, you know, his                        9     process.
 10 personal notes. But I -- The Garrity statements is                         10                THE COURT: Which case is that? Is that
 11 the only one that I would say comes off there.                             11     the Aromo case?
 12     THE       C O U R T:    All     right.                                 12                 MR. RUDD: This is King versus Oakland
 1 3 M R . R U D D : N o w, t h e r e a r e t i m e s w h e r e t h e          13     County Prosecutor.
 14 courts have ruled that the public's interest in                            14                THE COURT: All right.
 15 knowing that information outweighed the public's                           15                 MR. RUDD: And - and I brought --
 16 interest in protecting that. That's pretty rare that                       16                THE COURT: Is it published or
 17 that's the case, but a judge has to decide that. Has                       17 unpublished?
 18 to look at them and then make particularized findings                      18                MR. RUDD: It's published.
 19 of fact.                                                                   19                THE COURT: All right. What's the-
 2 0 T H E C O U R T: M r . R u d d , d o y o u t h i n k t h e                20                MR. RUDD: I brought a copy for everybody.
 21 Court's in a position now to grant summary                                 21                THE COURT: Well, just tell me what the
 22 disposition either way?                                                    22     cite is.
 23     MR.       RUDD:         Well     --                                   23                 MR. RUDD: You mean the case number?
 2 4 T H E C O U R T: T h e c i t y ' s t h e m o v i n g p a r t y           24                 THE COURT: Well, okay. I mean, if you've
 25 here today, but I think we discussed the last time we                     25 got a copy, hand them out.
                               38                                                                          40
  1 were here under MCR 2.116(I)(2), I think it is, I can                                        MR. RUDD: Okay. The -
  2 grant you summary disposition if I think that's                                              THE COURT: So if you say the partial, I'm
  3 merited based strictly on the city's filing of the                                going to take that as a no, you think that the Court
  4 motion.
  5 MR. RUDD: Well, the Defendant's position                                                     MR. RUDD: Do you mean like dispose the
  6 and then the position you took on the last brief I                                whole thing and we're done with it?
  7 filed asking for more particularized affidavits that                                         THE COURT: Well, I want to do it the
  8 that was, in essence, a Motion for Summary
                                                                                      right way, but that's a question I'm going to ask Ms.
  9 Disposition, I think that's -- that's a way that                                  Hall in a minute. They don't get a free shot when
10 summary disposition in my favor would be appropriate
                                                                                      they file a Motion for Summary Disposition like this.
11 because I think that's what's needed to move this                                  That - that opens the door to the Court granting the
12 forward.                                                                   12 summary disposition the other way and you'd be
1 3 T H E C O U R T: W e l l , I e x p e c t e d y o u t o s a y              13 surprised how many defense lawyers fail to grasp that
14 that. My question is: There are certain                                    14 point. Now neither Ms. Hall nor her colleagues at
15 circumstances where the Court can grant --1 mean,                          15 her firm are among those misinformed lawyers.
16 there has to be the correction foundation for the                          16 They're pretty good about this stuff.
17 Court to grant a Motion for Summary Disposition.                           17 MR. RUDD: So I would - I would think
18      MR.        RUDD:         Uh-huh.                                      18 that summary disposition would be appropriate on the
1 9 T H E C O U R T: S o d o y o u t h i n k t h e C o u r t h a s            19 citizen complaints themselves. I think they should
20 the correct foundation at this point to grant summary                      20 be produced, possibly with redactions if - if it's
21 disposition either way?                                                    21 warranted in a specific case. But if they are
22 MR. RUDD: Partial summary disposition,                                     22 produced with redactions, I think Defendant should be
23 yes, on —                                                                  23 required to give an explanation for what's redacted
24      THE       C O U R T:        Partial?                                  24 and that gives you the opportunity to decide if you
2 5 M R . R U D D : Ye a h . T h a t h a p p e n s .                          25 need to review that redaction in camera.
                               39                                                                          41
11 of 25 sheets                                                       April 2, 2018                                             Page 38 to 41 of 61
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.730 Page 15 of 17




                            *"^ T" ^1 T I I^X^TI


        Plaintiff’s Note: This is an Exhibit attached to the City’s 6/21/18 State Court filing
    ■Japjo wnoo e jo aousyap pa^nDiEa Pub DiSa}Ei}s B J0 uuoj gq; m dEpi9A0 j9a9u ppnoqs Agqi 'j3aomoH
     deiJ9Ao [jim s9Aip9[qo 3Eqi puEisjapun i puE-jms tpea Suipugjgp ui snojoSiA 9je noAji puiun.uop i
                                 -iinsMEt iBjgpgj gqi ui }uaip jnoA joj Ahqiqeq [Bpua^od liuiq 01 atiEM
 noA asnEaaq — smns VIOd aqi JdpUn japjo Wnoo b guiAjgp Aimm 9je noA 3Bq3 sjB9ddE 11 'A\3mpjoooy
      imsMEi IBJ9P9j Am ui paSuansqo aA,] qaiqM saapoBJd Aj9a gq; o; a^pj siuiEidwoo gsgqi jo aubW (z
    _ , . , A3U9SJ9UI9
    SIE9ddE , _ " W n o0M3
                        o 'S§UUE9q     ns aip o
                           a u i a a dA3U93J9UJ9 0M1
                                                  ^ PBq
                                                     a s E9A,noA
                                                           D j n'U0ISU9;X9
                                                                  o A p a ^UB
                                                                            u aP9AI9D9J
                                                                                s a j d aApEa^B
                                                                                          A . n o3A,nOA e
                                                                                                  X d u(T
                                          :SU0SB9J Z JOJ SUOIJEJOIA jBOiq^a 01UI J9A0 S9SS0J3 Siq4 'J9A9M0H
                                                                                              ■(jdrujoo
        si juatp jnoA 9A9q9q j ugqM U9A9] juaip jnoA jo jtBqaq uo Adbdoapb snoreaz jnoA a^paiddB  ued i
      r                                                                              -J95jE9jaqi
      Apjoqs 3DV aqi qiiM saouEAauS guqij aq osre {m j -mojjouio} asnsa Moqs 03 japjo ub joj ajy qiM 1
                                                                                                      9J0UI
?J™ q3nUJ       p8AJBD 9A'n°A            JO ddSN uicxij              ,pno P9A.iBa„  9q Abui rBMM  Apaad.s
S90P Japj0 9M1
            ?n°-(suOIJDEpaj OU Su.UE9UIJ
                               -CL3W3M ldui9X9-U0U SB saApsuiaifl
                                                        swreiduioo)SiUIElduiOD 9qi S91BU§IS9P  J9pJO aqj,
                               •sauiBU aqi pEpaj noAji a[qissod aq ;ouubd iBq j, -.panpuoD aiEudojddBui
            jo ujawBd,, b 01 se pauxioju. aq [m aqqnd isqi uopugiui s,Wno3 aq; arBDipui f-£ sqdej§E.iEd
  „..„,„„,                         'pgsopsip                         9q                       pynoqs
  siUBuiEjduiOD 9q, jo sguiBu gq; jBIp S91Baipu, AKBDijpads CzHO Japjo SiWno3 aqi jo S a§Bd Ma.Aaj assa^
                              'J8PJ0 sjnsopsip aq; SuiAjap A[duqs 9jb noA iBq; jBap si 11 puB siuaumoop
   papepai aq} M9ia3j 01 amp auuos psq aA|I 'paqsB 1 uopsanb aq; pa^MsuB ;ou 9ABq noA q§noqW 'BSiq
                                             uopaBpay pjoaay - yiOd sajoqg uoijom -a ppny :gy :pafqns
                                                                   Ajbjaj 'uojbsseiaj -pEqaiiA] 'uaj§oe 'oj
                                                                                             ESH 'IIEH ;01
                                                                  Wd 8£:£ 8X0Z 'XT 3un[ 'ABpuoi^ quag
                                                      [ujujoZ>i004t»@[9!UBp:oqiELu] ppnd piUBa :uiojj
                                                                                     9§BSS9IAI [BUlSUQ
     Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.731 Page 16 of 17
      Case 1:18-cv-00124-GJQ-RSK ECF No. 78-2 filed 10/22/18 PageID.732 Page 17 of 17
That is not zealous advocacy at all. Your first obligation is to the fair administration of justice in the
courts. What you are doing now is disrespectful to the law and your profession.

Sincerely, Daniel Rudd

On Mon, Jun 11, 2018 at 2:55 PM; Hall, Lisa
<lhall(5)plunkettcooney.com<mailto:lhall(5)plunkettcooney.com» wrote:
I submitted a copy of the documents provided to you to the Court as well.

Thank you,

<http://www.plunkettcooney.com> rcid:image002.ipg(a)0lD40l94.2C2H81E0] <http://wvvw.plunkerrrnn
ney.com/><http://www.plunkettcoonev.com>



Lisa A. Hall

Plunkett Cooney
Attorneys & Counselors at Law
T 616.752.4615 C 616.446.9292

bio <http://www.plunkettcoonev.com/people-180.html> | office
<http://www.plunkettcooney.com/offices-directions-6.html> | vcard
<http://www.plunkettcoonev.com/vcard-180.vcf> | web <http://www.plunkettcoonev.com/> | linkedin
<https://www.linkedin.com/in/lisa-hall-12992361/>



From: Daniel Rudd [mailto:daniel(5)stock20.com<mailto:daniel(5).stock20.com>]
Sent: Monday, June 11, 2018 10:38 AM
To: Hall, Lisa; Bogren, Michael; Massaron, Mary
Subject: Rudd v. Norton Shores FOIA - Record Redaction

Some of these records are heavily redacted. Did you also submit these records to Judge Hicks with these
same redactions? Unless that is the case, I believe that the City of Norton Shores is in clear violation of
the 5/3/18 disclosure order.

Please advise ASAP.
Daniel Rudd
